| Daniel D’Antonio, Esquire
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: Office: (670) 344-1234 * Fax: (670) 346- 9455 oo 8
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Vilkes Barre: (570) 824-2300
artisburg: | (717) 238-3333 ©
tisvi . _ (570)-622-3200 ©
+ (570) 424- -6000. |
: Williamepect: (570). 327-9999 _
Reading:  —_ (610). 374-1234.
Altoona: (814) 944-4444,
(724) 662-2626.
(412) 261-1212.

 

Anne L. Kulesa, Esquire

 
  

 

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reasonably anticipated that the additional costs incurred will be substantial.

In light of the same, and in an attempt to mitigate additional expenditures, as Plaintiffs
have always done, Plaintiffs are inquiring as to whether a conference would be beneficial to the
parties in seeking an amicable resolution to the matter. Should this not be the case, Plaintiffs
will have no other option but to spend the additional money, thereby substantially increasing
their previously stated costs and attorneys fees. Should this be the case, Plaintiffs’ additionally
respectfully request an extension of time to respond to Defendants’ Brief in Opposition to
Plaintiffs’ Attorneys Fees, Interests and Costs as well as Defendants’ Objections to Plaintiffs’
Bill of Costs.

By copy of this correspondence, filed by the electronic case filing system, I am making
Defense Counsel aware of the content of this communication.

Should the Honorable Court have questions and/or concerns, or require additional
materials, please do not hesitate to contact our office.

Respeafuy submitted,

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Marsha Leé Albright, Esquire

ce: Bryon R. Kaster, Esquire via EFILE
Charles Haddick, Esquire via EFILE
